                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION




 SUSAN LEMKE,
                                      Plaintiff,
                vs.                                               Case No. 19-cv-149

 OCWEN LOAN SERVICING,
 LLC,

                                      Defendant.


                                NOTICE OF SETTLEMENT


       Plaintiff Susan Lemke (“Plaintiff”) by counsel, hereby provides notices to the court that a

settlement agreement between the Plaintiff and Defendant Ocwen Loan Servicing, LLC has been

reached. The Parties will prepare settlement documents and anticipate filing a Notice of

Dismissal within 45 days.


                                             Date: March 29, 2019.


                                             s/ Nathan E. DeLadurantey
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